          Exhibit 21




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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           CASE NO. 1:14-CV-954


STUDENTS FOR FAIR
ADMISSIONS, INC.,

                      Plaintiff,

               v.

UNIVERSITY OF NORTH
CAROLINA et al.,

                      Defendants.




   DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST
                      INTERROGATORIES

       Pursuant to Federal Rules of Civil Procedure 26 and 33, and the Local Rules of the

Middle District of North Carolina, Defendants object and otherwise respond to Plaintiff

Students for Fair Admissions, Inc.’s First Interrogatories as follows:


                                   GENERAL OBJECTIONS

       1.      Defendants object to Plaintiff’s First Interrogatories to the extent that the

Interrogatories, or the definitions and instructions related thereto, purport to impose any

obligation on Defendants in excess of the requirements set forth in the Federal Rules of

Civil Procedure, the Local Rules of the Middle District of North Carolina, or any other

statute, rule, or order applicable to this action.




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              a.    the name of the applicant;
              b.    the name of the person who did the research;
              c.    the reason(s) for the research;
              d.    a description of any documents concerning the research.

Response to Interrogatory No. 3

       Defendants object to Interrogatory No. 3 because it is overly broad, unduly

burdensome, and seeks information that is neither relevant to the claims and defenses nor

reasonably calculated to lead to the discovery of admissible evidence. Without waiving

the foregoing objections, Defendants state that application readers are given instructions

to base admissions decisions solely on information obtained from the application

materials and not to conduct outside research, including on the internet.          While

Defendants believe that application readers adhere to these instructions, there may be

isolated occasions where an admissions officer has looked something up related to an

application online. However, Defendants are unable to identify any specific instances of

this occurring.


Interrogatory No. 4

       Describe all categories of documents and data from any time used by UNC-
       CH in determining whether any particular applicant should be admitted.

Response to Interrogatory No. 4

       Defendants object to Interrogatory No. 4 because it is overly broad and requires

answers relating to information “from any time.”        Without waiving the foregoing

objections, UNC-CH evaluates applicants on an individual and holistic basis considering

a broad range of criteria grouped roughly into eight categories, including academic

performance, academic program, standardized testing, extracurricular activity, special

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talent, personal essays, background, and personal factors. While Admissions Office

personnel are able to consider any information pertinent to an applicant, including all

information in an applicant’s file, for purposes of conducting these evaluations, the

standard categories of documents and data include the applicant’s Common Application,

academic transcript, SAT, SAT subject exams, ACT, AP, IB, TOEFL, and/or IELTS test

scores, personal essays and letters of recommendation. School Group Review reports are

also reviewed to help inform decisions about some applicants.


Interrogatory No. 5

      Describe any categories of data relating to UNC-CH’s admissions process
      that You have destroyed during the Relevant Period, including:

             a.     the type and estimated quantity of the data;
             b.     the date it was destroyed;
             c.     the reason it was destroyed;
             d.     categories of documents relating to the destruction of the data,
                    including policies or communications regarding that destruction.

Response to Interrogatory No. 5

      Defendants object to Interrogatory No. 5 because it is overly broad, unduly

burdensome, and seeks information that is neither relevant to the claims or defenses nor

reasonable calculated to lead to the discovery of admissible evidence. Without waiving

the foregoing objections, Defendants state that pursuant to UNC-CH’s document

retention schedule, records documenting applications for admission for non-enrolled

students are destroyed one year after the applicant’s application period. Accordingly,

pursuant to this document retention schedule, in or about June 2014 or July 2014, UNC-

CH discarded School Group Review reports containing individual applicant data as well


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